      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 1 of 30




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

             Plaintiffs/Counterclaim
             Defendants,

      v.
                                                      Case No. 1:21-cv-02130-CJN
HERRING NETWORKS, INC., et al.,

             Defendants/Counterclaim                  Judge Carl J. Nichols
             Plaintiffs/Third-Party Plaintiffs,

      v.

AT&T SERVICES, INC., et al.,

            Third-Party Defendants.




    THIRD-PARTY DEFENDANT AT&T SERVICES, INC.’S MEMORANDUM OF
      POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS




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                                                  i
          Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 2 of 30




                                                    TABLE OF CONTENTS
                                                                                                                                            Page

INTRODUCTION ........................................................................................................................... 1

BACKGROUND............................................................................................................................. 3

          A.         Dominion Sues Herring for Defamation ................................................................. 3

          B.         Herring Sues AT&T Services, Mr. Kennard, and Others in California State
                     Court........................................................................................................................ 3

          C.         Herring Responds to Setbacks in San Diego by Filing Counterclaims and a
                     Third-Party Complaint in This Case ....................................................................... 4

SUMMARY OF ARGUMENT ....................................................................................................... 8

LEGAL STANDARD ..................................................................................................................... 8

ARGUMENT ................................................................................................................................ 10

          A.         Herring Fails to Allege a Plausible Causation Theory to Support Its
                     Indemnity Claim .................................................................................................... 10

          B.         The Contractual Indemnification Claim Must Be Dismissed Against
                     AT&T Services Because AT&T Services Assigned the Contract to
                     DIRECTV ............................................................................................................. 14

          C.         Herring Fails to Plausibly Allege That AT&T Services Breached the Non-
                     Disparagement Clause of the Contract ................................................................. 17

                     1.         Statements by CNN and HBO Personalities Are Not Attributable
                                to AT&T Services and Do Not Constitute Disparagement Under
                                the Contract ............................................................................................... 17

                     2.         Mr. Kennard’s Alleged Statements Do Not Constitute
                                Disparagement, and Could Not Have Triggered an Indemnification
                                Obligation .................................................................................................. 21

CONCLUSION ............................................................................................................................. 23




                                                                       ii
          Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 3 of 30




                                                TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

CASES

Ahmed v. U.S. Dep’t of Homeland Sec.,
   2022 WL 17851410 (D.D.C. July 7, 2022) .............................................................................. 11

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ................................................................................................................... 9

Belizan v. Hershon,
    434 F.3d 579 (D.C. Cir. 2006) .............................................................................................9, 14

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ................................................................................................................... 9

*Braun v. U.S. Postal Service,
   2017 WL 4325645 (D.D.C. Sept. 27, 2017) ............................................................................ 12

Brookens v. Solis,
   635 F. Supp. 2d 1 (D.D.C. 2009) ............................................................................................... 9

Carson Harbor Vill., Ltd. v. Unocal Corp.,
   287 F. Supp. 2d 1118 (C.D. Cal. 2003).................................................................................... 17

*Christian v. Giant Food Stores,
   2022 WL 594532 (D.D.C. Feb. 28, 2022)................................................................................ 12

Conant v. Wells Fargo Bank, N.A.,
   24 F. Supp. 3d 1 (D.D.C. 2014) ................................................................................................. 9

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   1996 WL 743801 (N.D. Cal. Dec. 23, 1996) ........................................................................... 15

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   2019 WL 8227082 (C.D. Cal. Dec. 23, 2019) ......................................................................... 21

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   132 Cal. App. 4th 966 (2005)................................................................................................... 16

Ellington v. EMI Music, Inc.,
    24 N.Y. 3d 239 (2014) ............................................................................................................. 19

First Nat’l Bank of Boston v. Bellotti,
    435 U.S. 765 (1978) ................................................................................................................. 21




                                                                    iii
         Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 4 of 30

                                             TABLE OF AUTHORITIES
                                                    (Cont’d.)
                                                                                                                          Page(s)

Florio v. Gallaudet Univ.,
   619 F. Supp. 3d 36 (D.D.C. 2022) ........................................................................................... 22

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   368 F. Supp. 3d 30 (D.D.C. 2019) ............................................................................................. 9

Harris v. Mayorkas,
   2022 WL 3452316 (D.D.C. Aug. 18, 2022)............................................................................. 12

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   247 Cal. App. 4th 117 (2016)................................................................................................... 14

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   2019 WL 4747794 (E.D. Cal. Sept. 30, 2019) ......................................................................... 22

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   73 Cal. App. 4th 1265 (1999)................................................................................................... 17

Herring Networks, Inc. v. AT&T Inc., et al.,
   No. 37-2022-00008623-CU-BC-CTL (San Diego Superior Ct.) ............................................... 4

Hinton v. Corr. Corp. of Am.,
   624 F. Supp. 2d 45 (D.D.C. 2009) ............................................................................................. 9

Kaempe v. Myers,
   367 F.3d 958 (D.C. Cir. 2004) ................................................................................................. 10

Kashmiri v. Regents of Univ. of Cal.,
   156 Cal. App. 4th 809 (2007)................................................................................................... 20

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   202 Cal. App. 4th 1342 (2012)................................................................................................. 21

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    2010 WL 4510905 (N.D. Cal. Nov. 2, 2010) ........................................................................... 17

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   977 F.3d 713 (9th Cir. 2020)..............................................................................................17, 18

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   186 Cal. App. 4th 620 (2010)................................................................................................... 20

Sandza v. Barclays Bank PLC,
   151 F. Supp. 3d 94 (D.D.C. 2015) .......................................................................................9, 14




                                                                 iv
          Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 5 of 30

                                                TABLE OF AUTHORITIES
                                                       (Cont’d.)
                                                                                                                                 Page(s)

SEC v. RPM Int’l, Inc.,
   282 F. Supp. 3d 1 (D.D.C. 2017) .........................................................................................9, 18

*Smith v. Shimizu,
   544 F. Supp. 2d 15 (D.D.C. 2008) ...........................................................................................12

Tule Lake Comm. v. City of Tulelake,
   2020 WL 1169273 (E.D. Cal. Mar. 11, 2020) .........................................................................19

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   363 F.3d 1278 (Fed. Cir. 2004) ................................................................................................19

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   2021 WL 1153152 (Del. Super. Ct.) (filed Mar. 26, 2021)........................................................6

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   238 Cal. App. 4th 468 (2015)...................................................................................................16

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   832 F.2d 601 (D.D.C. 1987).......................................................................................................9

VKK Corp. v. Nat’l Football League,
  244 F.3d 114 (2d Cir. 2001) .....................................................................................................19

STATUTES

*Cal. Civ. Code § 1457 ..................................................................................................................14

Cal. Civ. Code § 1644 ....................................................................................................................19

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   Wing, THE NEW YORK TIMES, June 9, 2020 ......................................................................13

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    fake news, THE WASHINGTON POST, June 15, 2020 .........................................................13



                                                                    v
          Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 6 of 30

                                                 TABLE OF AUTHORITIES
                                                        (Cont’d.)
                                                                                                                                   Page(s)

RULES

Fed. R. Civ. P. 12(b)(6) .................................................................................................................... 9




                                                                     vi
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 7 of 30




                                        INTRODUCTION

       After eighteen months of defending against Dominion’s defamation lawsuit, Herring

decided it was AT&T Services, Inc.’s fault that it got sued. According to Herring, Dominion sued

Herring not because of the many allegedly disparaging statements made by Herring about

Dominion (as detailed in Dominion’s complaint), but because of allegedly disparaging statements

about Herring made by AT&T Inc.’s Chairman of the Board, William Kennard, as well as certain

CNN and HBO on-air personalities. And because those statements purportedly caused Dominion’s

lawsuit, Herring claims that AT&T Services must indemnify Herring under the terms of an

unrelated carriage agreement by which AT&T Services and DIRECTV agreed that DIRECTV

would broadcast Herring’s One America News Network and A Wealth of Entertainment television

channels.

       Herring’s unsupported assertions and contradictory reasoning fall far short of stating a

plausible claim for indemnification and should be dismissed for at least three reasons:

       •    First, and most glaringly, Herring’s claim rests on the utterly implausible theory that

            Dominion decided to sue Herring because CNN and HBO personalities allegedly

            disparaged OAN on-air and because Mr. Kennard allegedly disparaged OAN in private

            correspondence with individuals not alleged to be affiliated with Dominion. Herring

            offers not a single fact to explain why Dominion would have been influenced in any

            way by commentary by these individuals, much less facts from which the Court can

            plausibly infer that the alleged disparagement caused Dominion to sue. To the contrary,

            Dominion has already stated categorically that it sued Herring not because of some

            third party’s conduct, but because Herring accused Dominion of helping to rig the 2020

            presidential election. Even worse, in the case of Mr. Kennard, his allegedly disparaging

            statements occurred two months after Dominion had already sued Herring, rendering



                                                1
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 8 of 30




           Herring’s causation theory not just implausible, but impossible.


       •   Second, as Herring concedes in its Amended Third-Party Complaint, AT&T Services

           “fully assigned” the carriage agreement with Herring to DIRECTV. AT&T Services

           had no indemnity obligation before this assignment because the indemnity claim had

           not yet accrued. And post-assignment, AT&T Services has no indemnity obligation

           because it is no longer a party to the contract.


       •   Third, even if AT&T Services were still bound by the carriage agreement, Herring

           offers no well-pleaded allegations to support its theory that AT&T Inc.’s ownership of

           CNN and HBO is sufficient to impute CNN and HBO commentators’ statements to

           AT&T Services. Herring’s theory of imputation is based exclusively on conclusory

           assertions, speculation, and legal conclusions, none of which can overcome a motion

           to dismiss. And Herring’s attempt to impute Mr. Kennard’s alleged statements to

           AT&T Services fails too because Mr. Kennard’s statements were not disparaging and

           could not have caused Dominion’s lawsuit.


       Herring’s Amended Third-Party Complaint is not its first attempt to blame AT&T Services

for its woes; Herring already sued AT&T Services, along with DIRECTV, AT&T Inc., and

Mr. Kennard, in San Diego Superior Court, alleging, among other things, that AT&T Services and

AT&T Inc. breached the carriage agreement by allegedly disparaging Herring. Having seen the

bulk of its claims against DIRECTV dismissed under California’s anti-SLAPP law (the claims

against AT&T Services, which have similar flaws, are the subject of various motions to dismiss

expected to be argued later this year), Herring attempts a federal court do-over by contorting the

disparagement claim from San Diego into an indemnification claim in this Court. Because Herring




                                                 2
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 9 of 30




has not plausibly pleaded any breach of the carriage agreement by AT&T Services, much less any

breach that proximately caused Dominion’s lawsuit, and because AT&T Services is no longer a

party to the contract, this desperate gambit should be dismissed.

                                        BACKGROUND

A.     Dominion Sues Herring for Defamation

       On August 10, 2021, Dominion1 filed a detailed 213-page complaint alleging that Herring

Networks, Inc., Charles Herring, Robert Herring, Chanel Rion, and Christina Bobb (collectively,

“Herring”) were liable for defamation per se based on Herring’s “outlandish and far-fetched

fictions” and “spiral of lies” that Dominion committed election fraud by rigging the 2020

presidential election. ECF No. 1 ¶¶ 2–3. After requesting and receiving two extensions of time to

respond to the complaint, see ECF Nos. 27, 40, Herring moved to dismiss or stay the case under

the Colorado River doctrine, and, alternatively, moved to transfer the case to the United States

District Court for the District of Colorado. ECF No. 41. The Court denied the motion on

November 7, 2022. ECF Nos. 55, 56. Herring again requested two extensions of time to answer

the complaint, which the Court again granted. ECF Nos. 57, 58. Herring answered Dominion’s

complaint on January 20, 2023. ECF No. 59. At no point during this period did Herring mention

AT&T Services or “contractual indemnity” in any of its various filings.

B.     Herring Sues AT&T Services, Mr. Kennard, and Others in California State Court

       Seven months after getting sued by Dominion in this Court, Herring on March 7, 2022 filed

a lawsuit in San Diego Superior Court against AT&T Services, AT&T Inc., Mr. Kennard, and

DIRECTV, LLC (“DIRECTV”) (“San Diego Lawsuit”). See Third-Party Defendants’ Request for



1
 For purposes of this motion, “Dominion” refers collectively to Plaintiffs US Dominion, Inc.,
Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation.




                                                3
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 10 of 30




Judicial Notice (“RJN”), McRae Ex. 1, Herring Networks, Inc. v. AT&T Inc., et al., No. 37-2022-

00008623-CU-BC-CTL (San Diego Superior Ct.), Complaint. In that suit, Herring alleges, among

other things, that AT&T Services breached the non-disparagement provision of a contract under

which AT&T Services and DIRECTV agreed that DIRECTV would broadcast Herring’s One

America News Network (“OAN”) and A Wealth of Entertainment television channels

(“Contract”). Herring also alleges that AT&T Services and Mr. Kennard tortiously interfered with

the Contract by influencing DIRECTV’s decision not to renew the Contract with Herring, even

though the Contract does not provide Herring any right of renewal. See RJN, McRae Ex. 1. In

bringing its San Diego Lawsuit, Herring made no mention of AT&T Services’ purported

“contractual indemnity” obligation, and certainly did not claim that the alleged disparagement led

to Dominion’s suit filed in this Court months earlier.

       All defendants in the San Diego Lawsuit filed motions to dismiss the complaint and

motions to strike under California’s anti-SLAPP law, and AT&T Inc. and Mr. Kennard also filed

motions to quash for lack of personal jurisdiction. On January 13, 2023, the San Diego court in

large part granted DIRECTV’s motion to strike and motion to dismiss. RJN, McRae Ex. 3, Herring

Networks, Inc. v. AT&T Inc., et al., No. 37-2022-00008623-CU-BC-CTL (San Diego Superior

Ct.), Minute Order dated January 13, 2023. In doing so, the court adopted the core arguments that

AT&T Services makes in its separate motions to dismiss and strike. Id. Assuming the San Diego

court applies the same reasoning to AT&T Services’ motions as it applied to DIRECTV’s motions,

Herring’s claims will be all but foreclosed.

C.     Herring Responds to Setbacks in San Diego by Filing Counterclaims and a Third-
       Party Complaint in This Case

       On February 3, 2023, just three weeks after its loss in the San Diego Lawsuit (and nearly

a year and a half after Dominion sued Herring), Herring filed Counterclaims against Dominion




                                                4
         Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 11 of 30




and a Third-Party Complaint against AT&T Services and Mr. Kennard that largely recycles the

disparagement allegations from the San Diego Lawsuit, this time under a manufactured claim of

“indemnification.”2 As in the San Diego case, here, Herring alleges that after a lawsuit between

the parties, AT&T Services, DIRECTV, and Herring entered into the Contract in March 2017,

pursuant to which DIRECTV would broadcast OAN and A Wealth of Entertainment for five

years.3 ECF No. 85 (“Am. Third-Party Compl.”) ¶¶ 39–41, 44. AT&T Services later assigned its

interest in the Contract to DIRECTV. Id. ¶ 42. Herring alleges that, in April 2020, CNN and HBO

media personalities purportedly began disparaging OAN. Id. ¶¶ 56–66.

         According to Herring, Reuters on October 6, 2021 published an article entitled “How

AT&T helped build far-right One America News,” in which a reporter claimed that AT&T

financially supported OAN. See id. ¶¶ 102–07. AT&T Services put out a statement denying the

allegations in the article, and according to Herring, “liberal organizations” began criticizing AT&T

based on its perceived support of OAN. Id. ¶¶ 103–04. On January 14, 2022, DIRECTV allegedly

informed Herring that it would not be renewing the Contract for “political” reasons. Id. ¶ 120.

Herring further alleges that critical statements by HBO and CNN media personalities in 2020 and

2021, and by Mr. Kennard in October 2021 (id. ¶¶ 68–71, 188), caused Dominion to sue Herring.4


2
  On May 5, 2023, Herring filed its Amended Third-Party Complaint making similarly baseless
allegations, but Christina Bobb did not join that pleading and instead dropped her claims against
AT&T Services and Mr. Kennard in response to Mr. Kennard’s notice of his intent to seek Rule
11 sanctions for the original Third-Party Complaint. See ECF No. 85. After Mr. Kennard again
sent notice of his intent to seek Rule 11 sanctions—this time in response to the Amended Third-
Party Complaint—the remaining Herring Third-Party Plaintiffs (i.e., Herring Networks, Inc.,
Charles Herring, Robert Herring and Chanel Rion) voluntarily dismissed their claims against
Mr. Kennard. See ECF No. 101. Accordingly, Mr. Kennard is no longer a party in these
proceedings.
3
    The Contract is governed by California law. Contract § 13.
4
  In addition to the many reasons this theory is nonsensical, it defies belief given Dominion’s
defamation lawsuits against Fox News, Newsmax, and others, especially considering that



                                                5
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 12 of 30




Herring premises its claims here, and in San Diego, on a convoluted and speculative conspiracy

theory that Mr. Kennard influenced (in some vague and unidentified way) DIRECTV’s and

Dominion’s independent decisions because of Mr. Kennard’s politics and his involvement with

Staple Street.

       Based on this hypothesis, Herring’s Amended Third-Party Complaint asserts a single cause

of action against AT&T Services: contractual indemnity. Id. ¶¶ 184–91. Herring claims that under

the Contract, AT&T Services should be defending Herring against Dominion’s defamation suit

because it was AT&T Services’ breach of the Contract that precipitated Dominion’s suit in the

first place. Id. ¶¶ 188–91. Herring offers no explanation linking Dominion’s decision to sue with

the allegedly disparaging statements of CNN and HBO commentators, or with Mr. Kennard’s

private communications with individuals unaffiliated with Dominion.5 In fact, Herring pleads the

exact opposite: Dominion was motivated not by any statements by AT&T Services, news

commentators, or Mr. Kennard (whose allegedly disparaging statements occurred after Dominion

had already sued Herring), but by a desire “to unlawfully interfere with, disparage, and destroy

viewpoints politically and financially detrimental to [it].” Id. ¶ 13. And at no point did Herring




Dominion’s lawsuit against Fox News predates its lawsuit against Herring by almost five months.
See US Dominion, Inc. v. Fox News Network, LLC, 2021 WL 1153152 (Del. Super. Ct.) (filed Mar.
26, 2021). Clearly, Dominion was independently bringing these defamation claims against news
organizations that made allegedly false statements about Dominion in connection with the
presidential election, including the instant one against Herring.
5
  Herring alleges that the statements of CNN and HBO media personalities are attributable to
AT&T Services because AT&T Services is owned by AT&T Inc. and CNN and HBO were also
at the time owned by AT&T Inc. through its WarnerMedia division. See Am. Third-Party Compl.
¶¶ 23, 56–66.




                                               6
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 13 of 30




ever notify or inform AT&T Services that it was asserting an indemnification right, as required by

the indemnification notice provisions of the Contract.6

       Herring’s theory of indemnification relies on two provisions of the Contract—Sections

8.2(a) and 16.3. Section 8.2 states, in relevant part:7

       Affiliate shall indemnify, defend and hold harmless each of [Herring], its parent company
       and its Affiliated Companies, contractors, subcontractors, authorized agents, each supplier
       to [Herring] of any portion of any Service under this Agreement and each participant
       therein and the directors, officers, employees and agents of [Herring] . . . from, against and
       with respect to any and all claims, demands, actions, or causes of action, damages,
       liabilities, threatened claims, costs and expenses (including reasonable outside attorneys’
       and experts’ fees) incurred in connection with any third-party claim against [Herring] to
       the extent arising out of (a) Affiliate’s breach or alleged breach of any provision of
       this Agreement. . . .

Contract § 8.2 (emphases added); Am. Third-Party Compl. ¶ 185 (quoting this portion of Section

8.2 as the relevant provision).

       Section 16.3 of the Contract, the non-disparagement provision, states, in relevant part:

       Non-Disparagement. The Parties further agree that the Parties, the AT&T Related
       Parties, the Programmer Related Parties, and their respective Representatives during
       the Term of this Agreement and for two (2) years thereafter, shall not directly or
       indirectly (or encourage, suggest or organize any other individual, entity or third party or
       their Representatives to) (1) disparage (including, without limitation, via the Services,
       blogging, social media, press interviews and/or any public statement) the other Party,
       the Programmer Related Parties, the AT&T Related Parties, and/or their respective
       Representatives      The Parties further agree that Section 16.3 shall not apply (a) to
       the extent necessary to comply with the Law; (b) to any proceeding before any
       government, judicial, legislative or administrative body, or any arbitrator; or (c) to
       any governmental inquiry or request.



6
  Section 8.3 of the Contract requires a party to provide written notice of the legal proceeding,
the underlying facts, and the amount of any claim for which the party is seeking indemnification.
See ECF No. 85-2 (“Contract”) § 8.3. If Herring truly believed it was owed indemnification for
a potential $1.6 billion judgment, Herring surely would have followed the indemnification notice
requirements to the letter.
7
 The term “Affiliate” means AT&T Services and DIRECTV. Contract at p. 1; Am. Third-Party
Compl. ¶ 45.




                                                  7
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 14 of 30




Contract § 16.3 (emphases added).8

        The term “Representatives” is also central to Herring’s claim against AT&T Services. The

Contract defines “Representatives” as “any individual or entity over which a Party or an AT&T

Related Party or Programmer Related Party . . . exercises influence.” Am. Third-Party Compl. ¶

56 n.3 (quoting Contract § 16.1.3).

                                 SUMMARY OF ARGUMENT

        Herring’s indemnity cause of action fails to state a claim for three independent reasons.

First, Herring’s conspiracy-laden and conclusory allegations that purported disparagement by

AT&T Services caused Dominion to sue Herring are implausible on their face. The Amended

Third-Party Complaint fails to allege a single fact plausibly suggesting that Dominion filed suit

because certain CNN and HBO commentators criticized OAN on air, or because Mr. Kennard

expressed negative views of OAN in private correspondence to individuals unaffiliated with

Dominion (e.g., other members of AT&T Inc.’s Board of Directors). In fact, many of the allegedly

disparaging statements from CNN and HBO commentators, and all of the alleged statements from

Mr. Kennard, occurred after Dominion filed suit against Herring, so these statements could not

have caused Dominion’s suit under any circumstances. Second, AT&T Services fully assigned the

Contract to DIRECTV before Dominion’s lawsuit was filed, and, thus, before any cause of action

for indemnification could possibly accrue. Third, the allegations that AT&T Services violated the

non-disparagement provision are conclusory, based on conjecture, and contradicted by the

Contract itself.

                                      LEGAL STANDARD

        The Court must dismiss a cause of action that fails to state a claim upon which relief can


8
 The term “AT&T Related Parties” includes “members of the Board of Directors,” such as
Mr. Kennard.



                                                8
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 15 of 30




be granted. Fed. R. Civ. P. 12(b)(6). A plaintiff must plead “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is

facially plausible only when the court can reasonably infer from the factual content pleaded that

the defendant is liable for the alleged misconduct. See generally id. While the Court “must

construe the complaint in the light most favorable” to the plaintiff and “accept as true all reasonable

factual inferences drawn from well-pleaded allegations,” it need not “accept legal conclusions or

mere conclusory statements as true.” Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d 30, 36

(D.D.C. 2019); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the elements

of a cause of action, supported by mere conclusory statements” do not state a claim.). Dismissal

with prejudice is warranted if “the allegation of other facts consistent with the challenged pleading

could not possibly cure the deficiency.” Belizan v. Hershon, 434 F.3d 579, 583 (D.C. Cir. 2006)

(quotation omitted).

       In deciding a Rule 12(b)(6) motion, a court may consider “the facts alleged in the

complaint, documents attached as exhibits or incorporated by reference in the complaint, or

documents upon which the plaintiff’s complaint necessarily relies even if the document is

produced . . . by the defendant.” Conant v. Wells Fargo Bank, N.A., 24 F. Supp. 3d 1, 11 (D.D.C.

2014) (cleaned up). In addition, at any stage of the proceeding, a court may consider “matters

about which the Court may take judicial notice.” Hinton v. Corr. Corp. of Am., 624 F. Supp. 2d

45, 47 (D.D.C. 2009) (citation omitted). These matters include “official court records,” Veg-Mix,

Inc. v. U.S. Dep’t of Agric., 832 F.2d 601, 607 (D.D.C. 1987); “prior lawsuits,” Brookens v. Solis,

635 F. Supp. 2d 1, 6 (D.D.C. 2009); other “public records, including SEC filings,” SEC v. RPM

Int’l, Inc., 282 F. Supp. 3d 1, 10 n.4 (D.D.C. 2017); and “the existence of newspaper articles” and

“press coverage,” Sandza v. Barclays Bank PLC, 151 F. Supp. 3d 94, 113–14 (D.D.C. 2015).




                                                  9
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 16 of 30




Furthermore, courts are not required to “accept as true the complaint’s factual allegations insofar

as they contradict exhibits to the complaint or matters subject to judicial notice.” Kaempe v. Myers,

367 F.3d 958, 963 (D.C. Cir. 2004).9

                                          ARGUMENT

       Herring brings a claim for contractual indemnity against AT&T Services based on the

outlandish theory that critical commentary of OAN by CNN and HBO news personalities, and by

Mr. Kennard in private correspondence with a handful of individuals unaffiliated with Dominion,

breached the Contract’s non-disparagement provision, and that disparagement—not Herring’s

alleged falsehoods about Dominion—somehow caused Dominion to sue Herring, thereby

triggering AT&T Services’ obligation to indemnify Herring. Herring’s claim must be dismissed

because the underlying allegations are implausible, contradicted by facts capable of judicial notice,

and contrary to established law and settled principles of contract interpretation.

A.     Herring Fails to Allege a Plausible Causation Theory to Support Its Indemnity Claim

       Herring’s indemnity claim must be dismissed because the Amended Third-Party Complaint

is devoid of any facts plausibly suggesting that CNN’s Brian Stelter’s and HBO’s John Oliver’s

alleged “disparagement” of OAN somehow “caused” Dominion’s lawsuit against Herring, as

required to trigger the indemnification provision. Am. Third-Party Compl. ¶¶ 187–88. To the

extent Herring’s indemnification claim against AT&T Services is based on attributing

Mr. Kennard’s allegedly disparaging statements to AT&T Services, id. ¶ 188, the indemnity claim

fails because Herring does not, and cannot, plausibly allege that Mr. Kennard’s purported

statements—statements that occurred two months after Dominion filed suit—caused Dominion to


9
  AT&T Services is concurrently filing a Request for Judicial Notice. Each of the documents
referred to therein has been incorporated by reference into the Amended Third-Party Complaint or
is otherwise an appropriate subject of judicial notice and can be relied on by this Court.




                                                 10
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 17 of 30




sue Herring. Herring’s Amended Third-Party Complaint also fails to plausibly allege any facts

suggesting any link between any such statements and Dominion’s lawsuit. Indeed, given that the

statements were made in private correspondence two months after Dominion filed its lawsuit,

Herring cannot even allege that Dominion was aware of the statements at issue when it filed suit,

let alone that the statements “caused” the lawsuit.

       Herring’s other causation theory—that Dominion sued it because CNN commentators and

HBO’s John Oliver criticized OAN—is nonsensical and contradicts Dominion’s own allegations.

As Dominion’s complaint makes clear, Dominion sued Herring for defamation per se because

Herring allegedly published “false and defamatory statements of fact about Dominion,” ECF No.

1 ¶ 305, including that “Dominion committed election fraud by rigging the 2020 Presidential

Election,” and that “Dominion’s software and algorithms manipulated vote counts in the 2020

Presidential Election,” id. ¶ 3. Nothing in Dominion’s 213-page complaint suggests that its

allegations of defamation are cover for a claim really brought because individuals on CNN and

HBO criticized OAN, much less explains why Dominion would care about those criticisms.

Indeed, many of these alleged statements (like all of Mr. Kennard’s purportedly disparaging

statements) occurred after Dominion filed its lawsuit on August 10, 2021, so they could not have

“caused” the lawsuit. See Am. Third-Party Compl. ¶ 62 (alleging disparaging statements by

HBO’s Oliver on October 10, 2021); id. ¶ 63 (alleging disparagement by CNN reporters on

October 6, 2021); ¶ 64 (alleging disparagement by CNN’s Jake Tapper on October 7, 2021).

Herring’s speculation that a handful of other statements made by CNN and HBO news

personalities, see id. ¶¶ 56–61, prompted Dominion to file suit against it is insufficient to state a

plausible claim for indemnification. See Ahmed v. U.S. Dep’t of Homeland Sec., 2022 WL

17851410, at *3 (D.D.C. July 7, 2022) (Nichols, J.) (dismissing claim where plaintiff failed to




                                                 11
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 18 of 30




allege facts to support conclusion); Harris v. Mayorkas, 2022 WL 3452316, at *6 (D.D.C. Aug.

18, 2022) (dismissing plaintiff’s discrimination claims because she failed to allege facts from

which causation could be plausibly inferred).

        Courts routinely dismiss claims that are facially implausible or based on rank speculation.

For example, in Smith v. Shimizu, the court dismissed as “clearly baseless” the plaintiff’s claims

that federal employees had conspired to steal her identity and take property belonging to her and

her family, which allegedly included the United States Botanical Gardens and the Smithsonian

Institution. 544 F. Supp. 2d 15, 16–17 (D.D.C. 2008) (noting that a previous lawsuit filed by the

plaintiff was dismissed because the complaint contained “factual allegations that are so

implausible as to be fantastic or delusional”) (cleaned up). Similarly, in Christian v. Giant Food

Stores, the court dismissed the plaintiff’s complaint alleging that he suffered flu-like symptoms,

blurred vision, and organ damage after consuming the defendant’s shelf-stable food products.

2022 WL 594532, at *1 (D.D.C. Feb. 28, 2022). The court found that the allegations were “so

deficient that they are implausible on their face,” and also pointed to the plaintiff’s failure to allege

any facts supporting his belief that the products made him sick. Id. at *2. The plaintiff’s claims

in Braun v. U.S. Postal Service were dismissed as “simply implausible” where he alleged that his

legal name was unlawfully changed in the post office’s national database, which resulted in

electronic surveillance of the plaintiff that made it impossible for him to get a job. 2017 WL

4325645, at *8 (D.D.C. Sept. 27, 2017). Here, Herring’s claim—that the cause of Dominion’s

decision to sue Herring after months of OAN’s allegedly defamatory statements about Dominion

was really CNN and HBO commentators criticizing Herring—is similarly fanciful and

unsubstantiated, and therefore should be dismissed.




                                                   12
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 19 of 30




       If the Court were to accept at the pleading stage Herring’s allegation that Dominion sued

it “to unlawfully interfere with, disparage, and destroy viewpoints politically and financially

detrimental to [Dominion],” or that Dominion was engaged in “a larger, coordinated, well-financed

scheme to build up the ‘Dominion’ brand and weaponize it as a profit-making litigation machine

while taking down Herring and unlawfully destroying its ability to operate in the media business,”

Herring’s indemnification claim would become even less plausible than it already is. Am. Third-

Party Compl. ¶¶ 13, 15. That is, Herring theorizes that Dominion—as well as AT&T Services and

numerous other parties—attempted to harm Herring because of its political views. But whether

Herring held those views, and whether Dominion sought to suppress them, are facts independent

of whether CNN and HBO news personalities, or Mr. Kennard, ever said a word about OAN or

Herring. Herring certainly does not, and could not, allege that Dominion was somehow unaware

until HBO’s John Oliver criticized Herring that Herring had criticized Dominion, too.

       Indeed, such a claim would make no sense. During the time when Mr. Kennard and

commentators on CNN and HBO are alleged to have made the defamatory statements about

Herring, there was extensive media coverage critical of OAN and widespread reporting on OAN’s

criticisms of Dominion. See, e.g., Michael M. Grynbaum, One America News, the Network That

Spreads Conspiracies to the West Wing, THE NEW YORK TIMES, June 9, 2020,

https://www.nytimes.com/article/oann-trump.html?smid=url-share; Philip Bump, The most

fervently pro-Trump cable network offers a concise lesson in creating fake news, THE

WASHINGTON POST, June 15, 2020, https://www.washingtonpost.com/politics/2020/06/15/most-

fervently-pro-trump-cable-network-offers-concise-lesson-creating-fake-news/; Jacob Shamsian,

Trump-ally media outlet OAN quietly deleted articles about Dominion despite publicly doubling

down    on    election   conspiracy     theories,   BUSINESS      INSIDER,    Jan.   20,    2021,




                                               13
       Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 20 of 30




https://www.businessinsider.com/oan-deletes-articles-about-dominion-voting-election-

conspiracy-2021-1.10 Herring does not even try to allege that Dominion was unaware of this

extensive coverage, or explain why Dominion would have needed someone else to criticize

Herring before it would sue Herring for Herring’s well-publicized defamatory statements. And

even if Dominion was, for some unexplained reason, motivated by the fact that others criticized

Herring and OAN rather than by its own interests, Herring makes no attempt to plead facts

suggesting that it was John Oliver’s or Brian Stelter’s comments (as opposed to anyone else’s) that

catalyzed Dominion’s lawsuit. These pleading failures, along with the facial implausibility of the

allegations that were actually made, are fatal to Herring’s indemnification claim and warrant

dismissal with prejudice. Belizan, 434 F.3d at 583 (explaining that dismissal with prejudice is

warranted where “the allegation of other facts consistent with the challenged pleading could not

possibly cure the deficiency”).

B.      The Contractual Indemnification Claim Must Be Dismissed Against AT&T Services
        Because AT&T Services Assigned the Contract to DIRECTV

        Herring claims that AT&T Services is contractually obligated to “indemnify, defend, and

hold harmless” Herring in this litigation pursuant to Section 8.2 of the Contract. Am. Third-Party

Compl. ¶¶ 184–91. But as Herring acknowledges, AT&T Services “fully assigned” that Contract

to DIRECTV. Id. ¶ 42; see also RJN, Hall Ex. 1, Assignment Agreement between AT&T Services,

Inc. and DIRECTV, LLC, dated July 31, 2021 (“Assignment Agreement”). An assignor is not

bound or secondarily liable under the assigned contract if the counterparty consents to the

assignment. Cal. Civ. Code § 1457 (“The burden of an obligation may be transferred with the

consent of the party entitled to its benefit   ”); Hearn Pac. Corp. v. Second Gen. Roofing, Inc.,


10
   The Court “may take judicial notice of the existence of newspaper articles” and the fact that
there has been “extensive press coverage” of issues relevant to the action. Sandza, 151 F. Supp.
3d at 113–15.



                                                14
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 21 of 30




247 Cal. App. 4th 117, 148–49 (2016) (explaining that California law “protect[s] the party to be

benefited from the effects of the assignment of an obligation” by eliminating secondary liability

for the assignor if the counterparty consents to the assignment) (emphasis in original) (cleaned up).

The Cuscinetti v. Beaver Precision Products case that Herring references is in accord with this

basic tenet of California contract law. Am. Third-Party Compl. ¶ 42 n.2. There, the court

explained that absent consent, an assignor remains secondarily liable on a contract. Cuscinetti,

1996 WL 743801, at *6 (N.D. Cal. Dec. 23, 1996).

       Here, however, Herring contracted away its right to consent. The Contract expressly

provides that “no consent shall be necessary in the event of assignment” by AT&T Services to “an

Affiliated Company.” Contract § 12. The Contract expressly defines AT&T Services and

DIRECTV as “Affiliate,” and defines “Affiliated Company” to mean “with respect to any person

or entity, any other person or entity . . . under common control . . . with such person or entity.” Id.

at 1. Herring alleges that AT&T Services and DIRECTV are “Affiliated Companies.” See Am.

Third-Party Compl. ¶¶ 35–37 (pleading that AT&T Services is wholly owned, and DIRECTV is

majority-owned, by AT&T Inc.); see also RJN, Hall Ex. 2, Notice of Assignment from AT&T

Services, Inc. and DIRECTV, LLC to Herring Networks, Inc. dated July 28, 2021 (“Notice of

Assignment”) (stating that DIRECTV “will continue to be an affiliated entity of AT&T Services”).

As Herring puts it, “DIRECTV was still 100 percent owned by AT&T” in the period “April 2020

through mid-2021,” and, in fact, DIRECTV was wholly owned by AT&T at the time of

assignment. Am. Third-Party Compl. ¶¶ 56–57; RJN, Hall Ex. 2, Notice of Assignment. Herring

also concedes that its consent was thus not required for the assignment to be effective. See Am.

Third-Party Compl. ¶ 42 (explaining that AT&T Services could freely assign the Contract to an

“Affiliated Company,” such as DIRECTV).




                                                  15
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 22 of 30




       The Contract’s assignment provision further provides that the “Agreement, including both

its obligations and benefits, shall pass to and be binding on the respective transferees, successors

and permitted assigns of the [p]arties.” Contract § 12. Pursuant to this provision, any purported

indemnification obligation by AT&T Services ceased upon assignment. Accordingly, because the

assignment to DIRECTV was effective as of July 31, 2021, and Dominion did not sue Herring

until August 10, 2021, AT&T Services cannot be liable for any indemnification claim.11

       Under California law, an indemnity claim does not accrue until the party seeking

indemnification is held liable and makes a payment. Valley Crest Landscape Dev., Inc. v. Mission

Pools of Escondido, Inc., 238 Cal. App. 4th 468, 481 (2015) (“A cause of action for breach of an

express indemnity agreement (contractual indemnity) accrues when the indemnit[ee] sustains the

loss by paying the money sought to be indemnified from the indemnit[or].”). As to Herring’s

claim that AT&T Services must defend Herring in this litigation, such a claim does not accrue

until the indemnitee makes a demand for defense and the indemnitor refuses to defend, none of

which happened here, and which Herring fails to allege in any event. See Eaton Hydraulics Inc.

v. Cont’l Cas. Co., 132 Cal. App. 4th 966, 973 (2005) (“A cause of action for refusal to defend

accrues upon discovery of loss or harm, i.e., when the insurer refuses to defend.”) (cleaned up).

Accordingly, any potential claim to “indemnify, defend, and hold harmless Herring and any of its

directors, officers, employees and agents” would necessarily accrue after the assignment. Am.

Third-Party Compl. ¶ 189. It follows that this claim must be dismissed with prejudice against

AT&T Services because it is no longer a party to the Contract.




11
  Herring received notice of the assignment on July 28, 2021, and the Assignment Agreement was
dated effective as of July 31, 2021. RJN, Hall Ex. 2, Notice of Assignment at 1; RJN, Hall Ex. 1,
Assignment Agreement at 1.



                                                16
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 23 of 30




C.     Herring Fails to Plausibly Allege That AT&T Services Breached the Non-
       Disparagement Clause of the Contract

       Even if AT&T Services were somehow bound by the Contract notwithstanding the

assignment, Herring’s claim would still fail because it does not allege any acts by AT&T Services

that would trigger the Contract’s indemnification provision. The statements Herring alleges were

made by CNN and HBO personalities are not attributable to AT&T Services and do not violate the

non-disparagement provision. Mr. Kennard’s statements also cannot support an indemnification

claim—even assuming those statements were disparaging (they were not), those statements could

not have led to Dominion’s lawsuit because they occurred after the suit was already filed.

       1.      Statements by CNN and HBO Personalities Are Not Attributable to AT&T
               Services and Do Not Constitute Disparagement Under the Contract

       An indemnity agreement is construed according to basic principles of contract

interpretation. Liftech Consultants Inc. v. Samsung Shipbuilding & Heavy Indus., Ltd., 2010 WL

4510905, at *3 (N.D. Cal. Nov. 2, 2010). As such, the language of the agreement governs so long

as it “is clear and explicit and does not lead to absurd results.” Revitch v. DIRECTV, LLC, 977

F.3d 713, 717 (9th Cir. 2020). To prevail on an indemnity claim, “the indemnitee must prove that

liability is covered by the contract, that liability existed, and the extent thereof.” Carson Harbor

Vill., Ltd. v. Unocal Corp., 287 F. Supp. 2d 1118, 1199 (C.D. Cal. 2003). “Indemnity provisions

are . . . strictly construed against the indemnitee,” and, as with all contracts, “should be read in a

manner that renders them reasonable and capable of being put into effect.” Heppler v. J.M. Peters

Co., 73 Cal. App. 4th 1265, 1278 (1999).

       The gravamen of Herring’s claim is the conclusory allegation that AT&T Services

breached the non-disparagement clause of the Contract via news reporting and critical commentary

on CNN and HBO because the media personalities who made the allegedly disparaging remarks




                                                 17
        Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 24 of 30




are “representatives” of AT&T Services.12 Am. Third-Party Compl. ¶¶ 56–66, 187. This theory

fails for at least two reasons.

        First, CNN and HBO were not owned by AT&T Inc. at the time the Contract was signed,

and there are no plausible allegations supporting Herring’s contention that CNN and HBO media

personalities are “Representatives” of AT&T Services, which is a legally and factually distinct

entity from AT&T Inc. See Am. Third-Party Compl. ¶¶ 56–64. AT&T Services never owned

CNN and HBO; they were owned by AT&T Inc., which is also the parent company of AT&T

Services. Id. ¶¶ 35, 37. Further, AT&T Inc. did not even own CNN and HBO at the time AT&T

Services signed the Contract (March 9, 2017)—AT&T acquired Time Warner (CNN and HBO’s

then-current parent company) on June 14, 2018, more than a year later. Contract at 40; AT&T

Inc.,       Form          8-K       at       Item        2.01        (June        15,        2018),

https://www.sec.gov/Archives/edgar/data/732717/000119312518194502/d609728d8k.htm.13               A

contract written in the present tense does not, without more, cover or bind entities, affiliates, or

any other company that did not fall within coverage of the agreement at the time it was signed.

Revitch, 977 F.3d at 717–18 (holding that DIRECTV could not qualify as an “affiliate” of AT&T

Mobility for purposes of a services agreement when that agreement was signed before AT&T Inc.



12
   Herring also alleges that AT&T Inc. (not AT&T Services) disparaged OAN in AT&T Inc.’s
2023 Notice of Annual Meeting of Stockholders and Proxy Statement. Am. Third-Party Compl.
¶ 65, Ex. D (ECF No. 85-4). Curiously, Herring failed to identify for the Court where exactly in
the 92-page proxy statement this alleged disparagement appears. As is abundantly clear from the
document itself, this allegedly disparaging statement was part of a “Stockholder Proposal” put
forth by “The Nathan Cummings Foundation,” a shareholder of AT&T Inc.; the statement was not
made by either AT&T Inc. or AT&T Services. Am. Third-Party Compl., Ex. D (ECF No. 85-4)
at 13. Moreover, even if this statement could be attributed to AT&T Services, Herring’s claim for
indemnification would still fail because the statement was made in 2023 and therefore could not
have been the cause of Dominion filing this lawsuit in 2021.
13
   The Court may take judicial notice of “public records, including SEC filings.” RPM Int’l, 282
F. Supp. at 10 n.4.



                                                18
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 25 of 30




acquired DIRECTV and brought DIRECTV and AT&T Mobility under the same corporate

ownership); see Unova, Inc. v. Acer Inc., 363 F.3d 1278, 1282 (Fed. Cir. 2004) (applying

California law and holding that a release from liability provision “written in the present tense . . .

most naturally does not refer to [a party’s] future parents”); VKK Corp. v. Nat’l Football League,

244 F.3d 114, 130 (2d Cir. 2001) (rejecting argument that a release provision could cover future

affiliates because the “reference to ‘affiliates’ and the definition of the word are stated in the

present tense” and nothing in the definition “indicates the inclusion of future rather than present

members”); Ellington v. EMI Music, Inc., 24 N.Y. 3d 239, 246 (2014) (“Absent explicit language

demonstrating the parties’ intent to bind future affiliates of the contracting parties, the term

‘affiliate’ includes only those affiliates in existence at the time that the contract was executed.”).

Here, the Contract was written in the present tense, so it could not apply to CNN and HBO news

personalities whose employers were not even under AT&T Inc.’s corporate ownership at the time

the Contract was signed.

       Furthermore, there is no principle of contract law that would allow Herring to characterize

CNN’s Stelter, HBO’s Oliver, and the others, as “Representatives” under the Contract. “The

words of a contract are to be understood in their ordinary and popular sense,” Cal. Civ. Code §

1644, which courts determine by looking to “general dictionary definitions,” Tule Lake Comm. v.

City of Tulelake, 2020 WL 1169273, at *3 (E.D. Cal. Mar. 11, 2020). Here, the key word

“Representative” is defined to mean individuals over which AT&T Services “exercises influence.”

Am. Third-Party Compl. ¶ 56 n.3 (quoting Contract § 16.1.3). “Influence,” in turn, means that

AT&T Services was able to use “pressure, authority, or power . . . to induce action or change the

decisions or acts of” individuals at CNN and HBO, particularly by regulating the expression of

political views on the air by members of the media. Influence, Black’s Law Dictionary (10th ed.




                                                 19
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 26 of 30




2014). But the Amended Third-Party Complaint contains no factual allegations suggesting that

AT&T Services “exercise[d] influence” over CNN and HBO personalities under this meaning;

indeed, while the Amended Third-Party Complaint hints at AT&T Inc.’s ownership of Time

Warner (which owned CNN and HBO), it offers no theory explaining how AT&T Services would

have had influence over CNN and HBO. At the time, AT&T Services and Time Warner (also

known as WarnerMedia) were sister companies under a common owner: AT&T Inc. Herring

makes no allegation, let alone a plausible one, indicating how AT&T Services could exert

influence over Time Warner/WarnerMedia given its relative position in the corporate hierarchy,

much less that AT&T Services could or did influence the content of political commentators

appearing on WarnerMedia channels. Claims premised on such conclusory and logically

inconsistent allegations cannot survive a motion to dismiss.

       Second, Herring’s interpretation of the non-disparagement clause is unreasonably

overbroad and would lead to absurd results by which a routine non-disparagement provision would

preclude the independent news media from a broad swath of protected speech.             Roden v.

AmerisourceBergen Corp., 186 Cal. App. 4th 620, 651 (2010) (“[W]e must interpret a contract in

a manner that is reasonable and does not lead to an absurd result.”); Kashmiri v. Regents of Univ.

of Cal., 156 Cal. App. 4th 809, 842 (2007) (“The interpretation of a contract must be fair and

reasonable, not leading to absurd conclusions.”) (cleaned up). Under Herring’s interpretation of

the Contract, AT&T Services “breache[s]” the agreement’s non-disparagement provision any time

a CNN or HBO reporter, commentator, or host critically reports on OAN. Am. Third-Party Compl.

¶ 187. That interpretation would also mean that Herring breached the agreement every time OAN

critically reported on CNN, which it did routinely. And the unavoidable corollary of this

interpretation is that AT&T Services must review and pre-clear every statement about OAN made




                                               20
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 27 of 30




on CNN and HBO to ensure there is no “disparagement.” That is absurd on its face, and the

Amended Third-Party Complaint is devoid of any factual allegations suggesting that the parties

intended such an impractical and draconian restriction on speech. And it is especially absurd

because it assumes that AT&T Services, in exchange for carrying OAN on DIRECTV, forfeited

by contract “the special and constitutionally recognized role of [the news media] in informing and

educating the public, offering criticism, and providing a forum for discussion and debate.” First

Nat’l Bank of Boston v. Bellotti, 435 U.S. 765, 781 (1978). Such an onerous and constitutionally

suspect obligation cannot reasonably be read into the Contract’s non-disparagement provision.

DriveWealth, LLC v. Elec. Transaction Clearing, Inc., 2019 WL 8227082, at *3 (C.D. Cal. Dec.

23, 2019) (rejecting interpretation of a contract that, “[t]aken to its logical extreme,” would

produce “an absurd result for a commercial contract”); Klein v. Chevron U.S.A., Inc. 202 Cal. App.

4th 1342, 1384 (2012) (“[W]e must determine whether the alleged agreement is ‘reasonably

susceptible’ to the meaning ascribed to it in the complaint.”).

       2.      Mr. Kennard’s Alleged Statements Do Not Constitute Disparagement, and
               Could Not Have Triggered an Indemnification Obligation

       Herring’s allegations regarding Mr. Kennard’s purported disparaging statements fare no

better. Mr. Kennard’s statements were not only not “disparagement,” but also could not possibly

have caused Dominion to file its lawsuit against Herring because the statements were made two

months after Dominion filed its lawsuit. That is, given that the premise of Herring’s claim is that

AT&T Services must indemnify it because its breaches of the Contract caused Dominion to sue

Herring, statements made after the suit was filed cannot possibly support the claim. All of

Herring’s theories with respect to Mr. Kennard fail for this reason alone. Herring’s arguments also

fail for two other reasons.




                                                 21
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 28 of 30




       First, Herring alleges that Mr. Kennard characterized OAN as “toxic” in private one-on-

one email communications with a fellow board member and two personal acquaintances. Am.

Third-Party Compl. ¶¶ 69–71. But Herring offers no further explanation to link Dominion’s

decision to sue with the allegedly disparaging statements in Mr. Kennard’s private

communications with individuals unaffiliated with Dominion, nor does Herring allege that

Dominion was even aware of the statements. Moreover, “[s]tatements that consist of merely loose,

figurative, or hyperbolic language . . . or the expression of opinion, will not constitute

‘disparagement.’” Hellenic Petroleum v. Sacramento Energy Res., 2019 WL 4747794, at *3 (E.D.

Cal. Sept. 30, 2019) (applying California law). “Whether [the defendants] made statements of

‘fact’ or of ‘opinion’ is a question of law for the court.” Florio v. Gallaudet Univ., 619 F. Supp.

3d 36, 46 (D.D.C. 2022) (citation omitted) (alteration in original). This use of “toxic” in personal

email communications clearly reflected his view of the public perception of OAN at the time, not

a statement of fact.

       Second, Herring concocts a new allegation in its Amended Third-Party Complaint that

Dominion’s “lawsuit itself is a significant violation by Kennard of the non-disparagement

provision.” Id. ¶ 199. But the very section that Herring alleges Mr. Kennard breached (Section

16.3) expressly carves out statements in a litigation. Contract § 16.3 (“[T]his Section 16.3 shall

not apply . . . to any proceeding before any government, judicial, legislative or administrative body,

or any arbitrator . . . .”). Under this provision, even assuming that Mr. Kennard had directed

Dominion’s lawsuit against Herring, and even if AT&T Services could be responsible for

Dominion’s actions in this regard, AT&T Services would not be liable under the Contract because

suing Herring for defamation is expressly permitted by the Contract. And of course, the Amended




                                                 22
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 29 of 30




Third-Party Complaint lacks any specific allegations showing that Mr. Kennard directed

Dominion to file suit against Herring.

                                         CONCLUSION

       For the foregoing reasons, AT&T Services respectfully asks the Court to dismiss with

prejudice Herring’s claim for contractual indemnity against AT&T Services.



Dated: June 20, 2023                        Respectfully submitted,

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                                             23
      Case 1:21-cv-02130-CJN Document 113-1 Filed 06/20/23 Page 30 of 30




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of June 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.


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